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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS
                               EAST ST. LOUIS DIVISION


 IN RE SYNGENTA ACTIONS

 This Document Relates To:                                   Judge David R. Herndon

      Poletti et al. v. Syngenta AG et al.,
      No. 3:15-cv-01221-DRH


 SYNGENTA AG,
 SYNGENTA CROP PROTECTION AG,
 SYNGENTA CORPORATION,
 SYNGENTA CROP PROTECTION, LLC,
 SYNGENTA BIOTECHNOLOGY, INC., AND
 SYNGENTA SEEDS, LLC,

                  Defendants/Third-Party Plaintiffs,

 v.

 ARCHER DANIELS MIDLAND COMPANY,

                  Third-Party Defendant.


              SYNGENTA’S NOTICE OF VOLUNTARY DISMISSAL OF
      THIRD-PARTY CLAIMS AGAINST ARCHER DANIELS MIDLAND COMPANY

        Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i) and 41(c), Defendants and

Third-Party Plaintiffs Syngenta AG, Syngenta Crop Protection AG, Syngenta Corporation,

Syngenta Crop Protection, LLC, Syngenta Biotechnology, Inc., and Syngenta Seeds, LLC (f/k/a

Syngenta Seeds, Inc.) (together, “Syngenta”) hereby dismiss their third-party claims against Third-

Party Defendant Archer Daniels Midland Company (“ADM”) with prejudice.

        1.      On May 15, 2017, Syngenta filed a third-party complaint alleging contribution and

indemnity claims against Third-Party Defendants, including ADM. See ECF Nos. 230, 229.
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       2.      On September 11, 2017, the Third-Party Defendants moved to dismiss Syngenta’s

third-party complaint. See ECF Nos. 306, 307.

       3.      Under Federal Rules of Civil Procedure 41(a)(1)(A) and 41(c), a third-party

plaintiff may voluntarily dismiss a third-party claim “(1) before a responsive pleading is served;

or (2) if there is no responsive pleading, before evidence is introduced at a hearing or trial.”

       4.      ADM has not yet filed a responsive pleading, and the Third-Party Defendants’

motion to dismiss does not constitute a responsive pleading. See, e.g., Pennsylvania R.R. Co. v.

Daoust Constr. Co., 193 F.2d 659, 661 (7th Cir. 1952) (explaining that a motion “to dismiss the

third party complaint for failure to state a cause of action certainly was not an answer to the

complaint, nor is such a motion ordinarily considerd a responsive pleading”); see generally Wright

& Miller, Federal Practice & Procedure § 2363 (“[I]t is clear that a motion to dismiss under Rule

12 does not terminate the right of dismissal by notice.”).

       5.      ADM and Syngenta have agreed that no costs are to be awarded in connection with

this voluntary dismissal.

       6.      Nothing in this voluntary dismissal is intended to affect Syngenta’s pending third-

party claims against Third-Party Defendants other than ADM.

       WHEREFORE, Syngenta hereby dismisses all of its third-party claims against Third-Party

 Defendant Archer Daniels Midland Company with prejudice, with each side to bear its own costs.




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 Dated: January 26, 2018                 Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I certify that on January 26, 2018, I electronically filed the foregoing document and any

attachments with the Clerk of this Court by using the CM/ECF system, which will accomplish

service through the Notice of Electronic Filing for parties and attorneys who are Filing Users.



 Dated: January 26, 2018                            /s/ Jordan M. Heinz
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